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                EXHIBIT D-2
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                                            CITATION
Cause Number: 21-01-01381

Clerk of the Court                                      Attorney Requesting Service
Melisa Miller                                           Byron Keith Barclay
P.O. Box 2985                                           705 Chelsea Boulevard
Conroe, Texas 77305                                     Houston TX 77006
                                   THE STATE OF TEXAS
NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your attorney
do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
following the expiration of twenty days after you were served this citation and petition, a default judgment
may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

To:    U.S. Bank National Association
       Registered Agent - CT Corporation System
       1999 Bryan Street Ste 900
       Dallas TX 75201-3136


The attached Plaintiff's Original Petition with Discovery was filed on the 29th day of January, 2021, in
County Court at Law #2, located at the Montgomery County Courthouse in Conroe, Texas, numbered 21-
01-01381, and includes the following parties: Walter C Saenz; WCS Leasing , L.L.C. d/b/a Mars Recovery,
plaintiff(s), and U.S. Bank National Association, defendant(s).

Issued and given under my hand and seal of said Court at Conroe, Texas on this the 29th day of January,
2021.


                                                             Melisa Miller, District Clerk
                                                             Montgomery County, Texas

                                                             By:_____________________________________
                                                             Sarah Introligator, Deputy
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                                           OFFICER’S RETURN
Cause No. 21-01-01381                         Court No: County Court at Law #2
Style: Walter C Saenz, and WCS Leasing , L.L.C. d/b/a Mars Recovery VS. U.S. Bank N.A.
To:            U.S. Bank National Association
Address:       Registered Agent - CT Corporation System
               1999 Bryan Street Ste 900
               Dallas TX 75201-3136

Came to hand the ___day of ____________, 20__, at _______ o’clock, and executed in _________________ County,
Texas by delivering to each of the within named defendants in person, a true copy of this citation with the date of
delivery endorsed thereon, together with the accompanying copy of the Plaintiff's Original Petition with Discovery
at the following times and places, to wit:
Name                   Date/Time           Place, Course and distance from Courthouse
______________         ____________ ________________________________________________________

Manner of service: ________________________________________________________________________

*And not executed as to the defendants(s) ____________________________________________________
The           diligence         used        in           finding         said       defendant(s)              being:
_________________________________________________________________________________________
And         the         cause        of      failure         to       execute      this       process             is:
_________________________________________________________________________________________
And information received as to the whereabouts of said defendant(s) being:
_________________________________________________________________________________________
FEES:
Serving Petition and Copy     $_________
                                                           ________________________OFFICER
TOTAL                         $_________
                                                               ____________________County, Texas
                                                           By: ________________________, Deputy

AFFIANT
Complete if you are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with Rule 107: the
officer, or authorized person who services, or attempts to serve a citation shall sign and return. The return must
either be verified or be signed under penalty of perjury.

A return signed under penalty of perjury must contain the
statement below in substantially the following form:                  _________________________________
My full name is _____________________________________                 Declarant/Authorized Process Server
My date of birth is ___/___/____, and my address is                   _________________________________
_____________________________________________________.                ID# & Exp. Of Certification
I DECLARE UNDER PENALTY OF PERJURY THAT THE
FOREGOING IS TRUE AND CORRECT                                         SWORN AND SUBSCRIBED ON
Executed in___________________, County, State of __________,
on the _____day of ________________, 20____.                          ________________________________
                                                                      DATE
___________________________________
Declarant/Authorized Process Server
___________________________
ID# & Exp. Of Certification                                           ________________________________
                                                                      NOTARY
